         Case 3:18-cr-00038-VAB Document 13 Filed 04/23/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                        :            Criminal No. 3:18-cr-0038 (VAB)
                                                :
              v.                                :
                                                :
GEORGE GAROFANO                                 :            April 23, 2018


                       JOINT MOTION FOR SENTENCING SCHEDULE

       In accordance with the Court’s instructions at the plea hearing held on April 11, 2018, the

parties respectfully submit this joint motion for an order setting the sentencing schedule in the

above captioned matter. The parties have conferred and propose the following schedule:

       1. First disclosure of the Presentence Report is due July 16, 2018.

       2. Objections to the Presentence Report are due July 30, 2018.

       3. Second disclosure of the Presentence Report is due August 9, 2018.

       4. Defendant’s sentencing memorandum is due August 13, 2018.

       5. Government’s sentencing memorandum is due August 20, 2018.

       6. Replies to any sentencing memoranda are due August 23, 2018.

       7. Sentencing is to be held during the week of August 27, 2018, on a date to be determined
          by the Court in accordance with the Court’s schedule and availability.

 Respectfully submitted,

 JOHN H. DURHAM                                     THE DEFENDANT,
 UNITED STATES ATTORNEY                             George Garofano

 /s/ Neeraj N. Patel                                /s/ Richard W. Lynch

 NEERAJ N. PATEL                                    RICHARD W. LYNCH, ESQ.
 ASSISTANT U.S. ATTORNEY                            Lynch, Traub, Keefe & Errante, P.C.
 Federal Bar No. phv04499                           Federal Bar No. ct02381
 157 Church Street, 25th Floor                      52 Trumbull Street
 New Haven, CT 06510                                New Haven, CT 06510
 Tel.: (203) 821-3700                               Tel: (03) 787-0275
 Email: neeraj.patel@usdoj.gov                      Email: rlynch@ltke.com
          Case 3:18-cr-00038-VAB Document 13 Filed 04/23/18 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 23, 2018, a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                              /s/ Neeraj N. Patel
                                              Neeraj N. Patel
                                              Assistant United States Attorney
